          Case 4:18-cv-02010-JSW Document 83 Filed 11/09/18 Page 1 of 16



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     Attorneys for Plaintiffs PUBG Corporation and
19   PUBG Santa Monica, Inc.
20                                   UNITED STATES DISTRICT COURT
21                               NORTHERN DISTRICT OF CALIFORNIA
22                                          OAKLAND DIVISION
23   PUBG Corporation and                             Case No. 4:18-cv-02010-JSW
     PUBG Santa Monica, Inc.,
24                                                    JOINT CASE MANAGEMENT
                   Plaintiffs,                        STATEMENT & [PROPOSED] ORDER
25          vs.
26   NetEase, Inc., NetEase Information Technology
     Corporation and Hong Kong NetEase Interactive
27   Entertainment Limited,
28                 Defendants.

       JOINT CASE MANAGEMENT STATEMENT & [PROPOSED] ORDER, CASE NO. 4:18-CV-
                                   02010-JSW
          Case 4:18-cv-02010-JSW Document 83 Filed 11/09/18 Page 2 of 16



 1          The parties to the above-entitled action jointly submit this JOINT CASE MANAGEMENT

 2   STATEMENT & PROPOSED ORDER pursuant to the Standing Order for All Judges of the

 3   Northern District of California and Civil Local Rule 16-9.

 4          1. Jurisdiction & Service

 5          The Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1338 and 1367.

 6   Defendants NetEase, Inc. and Hong Kong NetEase Interactive Entertainment Limited waived service

 7   pursuant to Fed. R. Civ. P. 4(d), and have not raised objections based on personal jurisdiction or

 8   venue. Defendant NetEase Information Technology Corporation has not raised objections based on

 9   service, personal jurisdiction or venue.

10          2. Facts

11          Plaintiffs’ Statement:

12          Plaintiffs PUBG Corp. and PUBG Santa Monica (collectively, “PUBG”) are the owners,

13   authors, developers, managers and promoters of the video game PLAYERUNKNOWN’S

14   BATTLEGROUNDS. PUBG owns registered copyrights associated with BATTLEGROUNDS.

15   BATTLEGROUNDS was originally developed and released for personal computers (“PCs”).

16   Following its release, BATTLEGROUNDS became the fastest selling game ever sold on the popular

17   Steam distribution platform. By September 2017, BATTLEGROUNDS broke an all-time Steam

18   record, having 1.35 million concurrent players and, in December 2017, reached 3 million concurrent

19   players. To date, over fifty million copies of the PC version of BATTLEGROUNDS have been

20   sold. Following the success of the PC version of BATTLEGROUNDS, PUBG began developing

21   versions for the Xbox gaming system and for mobile (iOS and Android) platforms. PUBG released

22   BATTLEGROUNDS for Xbox in December 2017 and for mobile platforms in March 2018.

23          BATTLEGROUNDS contains numerous unique and creative audio, visual and audio-visual

24   elements, that individually and/or taken together constitute copyrightable works of creative

25   expression created and owned by PUBG; in addition, PUBG’s selection and combination of various

26   pre-existing images (combined with or without original elements), particularly when combined with

27   the corresponding attributes selected and applied by PUBG, constitutes original works of authorship

28   that are protectable by copyright.
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       JOINT CASE MANAGEMENT STATEMENT & [PROPOSED] ORDER, CASE NO. 4:18-CV-
                                   02010 JSW
          Case 4:18-cv-02010-JSW Document 83 Filed 11/09/18 Page 3 of 16



 1          Defendants are publishers and promoters of two BATTLEGROUNDS copycats – Rules of

 2   Survival and Knives Out – that infringe Plaintiffs’ copyrights and trade dress in

 3   BATTLEGROUNDS. Defendants’ clones incorporate play areas, buildings, armor, selection and

 4   combination of weapons and consumables, and unique gameplay features. A small sampling of

 5   specific elements appears below:

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 9
                   BATTLEGROUNDS                                          Rules of Survival
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                   BATTLEGROUNDS                                          Knives Out
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19                                            BATTLEGROUNDS
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24                                              Rules of Survival

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28                                                 Knives Out

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          JOINT CASE MANAGEMENT STATEMENT & [PROPOSED] ORDER, CASE NO. 4:18-CV-02010 JSW
          Case 4:18-cv-02010-JSW Document 83 Filed 11/09/18 Page 4 of 16



 1   Defendants’ clones were released as free-to-play mobile applications on or about November 2017

 2   (after BATTLEGROUNDS’ PC release, but before its mobile platform release), thus capturing and

 3   retaining a significant share of the market. Defendants have also published PC versions.

 4          Defendants’ Statement:

 5          Defendants NetEase, Inc., NetEase Information Technology Corporation, and Hong Kong

 6   NetEase Interactive Entertainment, Ltd. (collectively “NetEase”) are three corporations in the

 7   NetEase family, which has specialized in the development of video games and electronic

 8   entertainment for more than 15 years. By December 31, 2017, NetEase had distributed over 100

 9   mobile games of various genres. In 2017, NetEase introduced Rules of Survival and Knives Out, two

10   new online games in the battle royale genre. That genre, rooted in a novel first published in 1999,

11   has since increased in popularity and spawned movies and video games.       Among the myriad battle

12   royale games is Battlegrounds, developed by Plaintiffs PUBG Corporation and PUBG Santa

13   Monica, Inc. (collectively “PUBG”).

14          PUBG filed suit against NetEase’s competitive games, Rules of Survival and Knives Out,

15   claiming simultaneous copyright and trade dress protection over game mechanisms, rules, real-world

16   objects, and elements that, by PUBG’s own admission, have appeared in other games. Although

17   PUBG contends that “BATTLEGROUNDS contains numerous unique and creative audio, visual and

18   audio-visual elements, that individually and/or taken together constitute copyrightable works of

19   creative expression created and owned by PUBG,” (Plaintiff’s Statement, SAC ¶ 23) PUBG alleged

20   ownership of artwork that is “stock” artwork PUBG licensed from third parties on a non-exclusive

21   basis. (See Dkt. 78 at 2-4 Dkt 80-4 at 2, 4, 7, 12, 13) PUBG thus has no right to assert creative

22   expression or ownership in such works.

23          PUBG has told NetEase and the Court that it now intends to proceed on a “selection and

24   arrangement” theory (Dkt. 80 at 1); but PUBG’s “selection and arrangement” is not original either.

25   Prior games, such as Call of Duty: Modern Warfare 3 use the same selection and images as PUBG:
                   Battlegrounds Images                  Call of Duty: Modern Warfare 3 Images
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          JOINT CASE MANAGEMENT STATEMENT & [PROPOSED] ORDER, CASE NO. 4:18-CV-02010 JSW
          Case 4:18-cv-02010-JSW Document 83 Filed 11/09/18 Page 5 of 16



 1                 Battlegrounds Images                    Call of Duty: Modern Warfare 3 Images
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24   PUBG has no right to assert copyright ownership in a selection of art and video game elements that
25   it copied from others.
26          In any event, neither Rules of Survival nor Knives Out are similar to Battlegrounds in any
27   protectable aspects, and PUBG’s claims fail.
28

                                                      4
          JOINT CASE MANAGEMENT STATEMENT & [PROPOSED] ORDER, CASE NO. 4:18-CV-02010 JSW
          Case 4:18-cv-02010-JSW Document 83 Filed 11/09/18 Page 6 of 16



 1          3. Legal Issues

 2          The disputed points of law in this case include:

 3          i.      Whether Defendants are liable for copyright infringement (17 U.S.C. § 101 et seq.);
 4          ii.     Whether Defendants are liable for trade dress infringement (15 U.S.C. § 1125);
 5
            iii.    Whether Defendants are liable for unfair competition (Cal. Bus. & Prof. Code §
 6                  17200 et seq. and at common law);

 7          iv.     Whether the asserted aspects of Battlegrounds are unprotectable because they are
                    ideas, scenes-a-faire, game rules and mechanics, or merged ideas and expression;
 8
            v.      Whether Plaintiffs fraudulently registered the Battlegrounds copyright by omitting
 9
                    from the copyright registration (i) that Battlegrounds is a derivative work, and (ii) that
10                  Battlegrounds incorporates assets licensed from third parties;

11          vi.     Whether Plaintiffs have standing to assert copyrights over elements of Battlegrounds
                    licensed on a non-exclusive basis from third parties;
12
            vii.    Whether Plaintiffs’ repeated assertion of Battlegrounds against competitors who
13
                    release competing video games constitutes copyright misuse.
14          4. Motions
15          Defendants filed a Motion to Dismiss (Dkt. 47), which is pending. Defendants also filed a
16   Motion to Stay Motion to Dismiss Determination Pending Outcome of Rule 11 Dispute (Dkt. 78),
17   which the Court denied (Dkt. 82).
18          5. Amendment of Pleadings
19          The parties have included a deadline in their proposed schedule, January 16, 2019, set forth
20   in section 17 below, by which the parties may amend their pleadings without seeking leave of Court.
21   Following that deadline, leave of Court must be obtained.
22          6. Evidence Preservation
23          The parties certify that they have reviewed the Guidelines Relating to the Discovery of
24   Electronically Stored Information (“ESI Guidelines”) and have met and conferred regarding steps
25   taken to preserve evidence relevant to the issues reasonably evident in this action. The parties will
26   continue to meet and confer in an effort to reach an agreement.
27          7. Disclosures
28          Pursuant to the parties’ agreement, initial disclosures were exchanged on August 3, 2018.
                                                        5
          JOINT CASE MANAGEMENT STATEMENT & [PROPOSED] ORDER, CASE NO. 4:18-CV-02010 JSW
     Case 4:18-cv-02010-JSW Document 83 Filed 11/09/18 Page 7 of 16



 1    8. Discovery

 2    Both parties have served initial written discovery requests.

 3    PUBG anticipates that the scope of discovery in this case will include at least:

 4    i.         NetEase’s documents and communications related to the development and operation
                 of Rules of Survival, Knives Out and any predecessors;
 5

 6    ii.        NetEase’s documents and communications concerning PUBG;

 7    iii.       NetEase’s awareness of the similarities between Rules of Survival, Knives Out, their
                 predecessors and BATTLEGROUNDS and any copying thereof;
 8
      iv.        Whether NetEase copied one or more elements of BATTLEGROUNDS;
 9
      v.         Documents and communications related to NetEase financials, marketing and
10               advertising for Rules of Survival, Knives Out and their predecessors;
11
      vi.        Communications with third parties regarding PUBG and BATTLEGROUNDS;
12
      vii.       Depositions of NetEase’s directors, officers, employees, subcontractors, consultants,
13               or any other individuals acting on NetEase’s behalf that possess relevant information;

14    viii.      Discovery from any third parties possessing relevant information.

15    NetEase anticipates that the scope of discovery in this case will include at least:

16          i.   PUBG’s documents and communications related to the development of
                 Battlegrounds, as well as the development of a mobile version of Battlegrounds by
17               PUBG’s shareholder Tencent;

18         ii.   Whether PUBG copied commonly-used video game features, tropes, and elements in
                 the creation of Battlegrounds, precluding copyright protection;
19
       iii.      PUBG’s use of art, and other video game assets, licensed from third parties on a non-
20               exclusive basis;

21     iv.       Whether PUBG has used of strategies designed to misuse copyrights to monopolize
                 the market for “battle royale” video games and/or generally quash fair competition;
22
           v.    Documents in PUBG’s possession, including possible customer complaints, relating
23               to bugs and/or the “Fix the Game” campaign for Battlegrounds, as well as customer
                 perceptions about the quality of the mobile version of Battlegrounds;
24
       vi.       PUBG’s development costs, sales, profits, expenses, and financial projections related
25               to Battlegrounds, including whether Battlegrounds has lost sales and market share to
                 competitors, such as Fortnite: Battle Royale;
26
       vii.      Documents relating to any investigation PUBG performed before sending DMCA
27               notices and filing complaints related to Rules of Survival and Knives Out, including
                 discovery related to the lack of an investigation in possible violation of 17 U.S.C.
28               §512(g) and/or Rule 11 of the Federal Rules of Civil Procedure;

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     JOINT CASE MANAGEMENT STATEMENT & [PROPOSED] ORDER, CASE NO. 4:18-CV-02010 JSW
          Case 4:18-cv-02010-JSW Document 83 Filed 11/09/18 Page 8 of 16



 1          viii.   Third party discovery into PUBG’s employees, in particular Brendan Greene, relating
                    to the use or examination of, or exposure to, common and unoriginal video game
 2                  elements that PUBG incorporated into Battlegrounds;

 3           ix.    Discovery into third party prior art relating to the “battle royale” genre, and whether
                    Battlegrounds includes common elements from that genre;
 4
              x.    Depositions of PUBG’s employees, management, and contractors relating to the
 5                  foregoing topics.

 6          Proposed Limitations on Discovery

 7          Plaintiffs’ Statement:

 8          Plaintiffs propose that discovery be conducted in two phases: (1) fact discovery and (2)

 9   expert discovery. The parties previously agreed to extend the deadline to exchange initial

10   disclosures to August 3, 2018. Further, Plaintiffs propose the following restrictions:

11              •   Each side shall be limited to 25 interrogatories, 75 requests for production and 50
                    requests for admission, other than for authentication purposes.
12

13              •   Each side shall be limited to 10 depositions for fact witnesses and 7 hours per witness
                    on the record. For those witnesses that require an interpreter, each hour of time on the
14                  record will count towards .5 hours towards the 7 hour limit. The parties will meet and
                    confer on increased time for witnesses produced pursuant to Fed.R.Civ.P. 30(b)(6)
15                  based on good cause.
16          Defendants’ Statement:

17          NetEase agrees separate fact discovery and expert discovery phases. Additionally, the Parties

18   are close to agreement on a stipulation limiting discovery of Electronically Stored Information (ESI).

19          NetEase does not otherwise agree to discovery limitations beyond those imposed by the

20   Federal Rules of Civil Procedure. PUBG did not propose limiting Requests for Production until

21   after NetEase had already served discovery, so PUBG’s proposal would unfairly limit NetEase.

22   NetEase also objects to a limit on Requests for Admission, which can be helpful to limit copyright

23   contentions. E.g. Adobe Sys. Inc. v. Christenson, 2011 WL 540278, at *7 (D. Nev. Feb. 7, 2011)).

24          However, NetEase will agree that depositions requiring an interpreter may take place over 10

25   hours instead of 7, provided that the time is divided between two days, with no single day lasting

26   longer than 7 hours on the record.

27          9. Class Actions

28          Not Applicable.

                                                        7
          JOINT CASE MANAGEMENT STATEMENT & [PROPOSED] ORDER, CASE NO. 4:18-CV-02010 JSW
          Case 4:18-cv-02010-JSW Document 83 Filed 11/09/18 Page 9 of 16



 1          10. Related Cases

 2          None.

 3          11. Relief

 4          Plaintiffs’ Statement:

 5          PUBG’s requested relief set forth in its Complaint can be summarized as follows:

 6          i.      Permanently enjoin Defendants from continuing to infringe PUBG’s copyrights and
                    trade dress, as well as their unlawful, unfair, and/or fraudulent business conduct;
 7

 8          ii.     Order Defendants to remove Rules of Survival, Knives Out, and similarly infringing
                    games, from distribution and to cease developing and supporting those games;
 9
            iii.    Award PUBG statutory damages for willful copyright infringement, or, in the
10                  alternative, at PUBG’s election, PUBG’s actual damages and/or Defendants’ profits;
11          iv.     Award PUBG statutory damages for unlawful, unfair, and/or fraudulent business
                    conduct;
12

13          v.      Award PUBG actual damages in an amount sufficient to at least make PUBG whole;

14          vi.     Award PUBG reasonable attorneys’ fees and costs; and

15          vii.    Grant PUBG any other and further relief this Court deems just and proper.

16          Defendants’ Statement

17          NetEase has not yet answered the complaint, and reserves the right to bring counterclaims

18   with its answer. For now, NetEase is seeking costs and attorneys’ fees pursuant to 17 U.S.C. §505.

19          12. Settlement and ADR

20          The parties have conducted a private mediation.

21          13. Consent to Magistrate Judge For All Purposes

22          Whether all parties will consent to have a magistrate judge conduct all further proceedings

23   including trial and entry of judgment.   ____ YES     _X_ NO

24          14. Other References

25          The parties do not believe that special procedures are warranted at this time.

26          15. Narrowing of Issues

27          The parties are not aware of any issues for narrowing at this time.

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          JOINT CASE MANAGEMENT STATEMENT & [PROPOSED] ORDER, CASE NO. 4:18-CV-02010 JSW
            Case 4:18-cv-02010-JSW Document 83 Filed 11/09/18 Page 10 of 16



 1            16. Expedited Trial Procedure

 2            The parties do not believe that this action may be handled via expedited basis.

 3            17. Scheduling

 4            Plaintiffs request that the Court set forth the following Scheduling Order:

 5        Event                               Deadline
          Initial Disclosures                 Aug. 3, 2018
 6        Amend Pleadings                     2 months after CMC (Jan. 16, 2019)
 7        Close of Fact Discovery             6 months after CMC (May 17, 2019)
          Opening Expert Reports              1 month after close of Fact Discovery (June 21, 2019)
 8        Rebuttal Expert Reports             4 weeks after Opening Expert Reports (July 19, 2019)
          Close of Expert Discovery           2 weeks after Rebuttal Expert Reports (August 2, 2019)
 9        Dispositive Motions                 2 weeks after close of Expert Discovery (August 16, 2019)
          Hearing on Dispositive Motions      1 month after filing Dispositive Motions (Sept. 20, 2019)
10        Pre-Trial Disclosures               2 weeks after Hearing (October 4, 2019)
          Pre-Trial Conference                2 weeks after Pre-Trial Disclosures (October 18, 2019)
11        Trial (7 days)                      1 week after Pre-Trial Conference (October 25, 2019)
12            Defendants request that the Court set forth either of the following Scheduling Orders,
13   depending upon whether the trade dress claims persist in this case:1
14                     Event                  Date (Copyright Only)              Date (Trade Dress)
15       Initial Disclosures               Aug. 3, 2018                     Aug. 3, 2018
         Deadline to Amend Pleadings       Jan. 16, 2019                    Jan. 16, 2019
16       PUBG to Identify and Produce      Jan. 16, 2019                    Jan. 16, 2019
         All Non-Proprietary Visuals or
17       Elements Located Within
         Battlegrounds
18
         Close of Fact Discovery2          August 16, 2019                  August 16, 2019
19       Opening Expert Reports            September 16, 2019               September 16, 2019
         Production of Surveys                           -                  September 16, 2019
20       Rebuttal Expert Reports           October 16, 2019                 November 25, 2019
         Rebuttal Surveys                                -                  November 25, 2019
21
         Close of Expert Discovery         November 15, 2019                January 20, 2020
22       Dispositive Motions               November 20, 2019                February 3, 2020
         Hearing on Dispositive Motions    December 21, 2019                March 3, 2020
23       Pre-Trial Disclosures             January 10, 2020                 March 24, 2020
         Pre-Trial Conference              January 24, 2020                 April 7, 2020
24
         Trial (7 days)                    January 31, 2020                 April 14, 2020
25
     1
        If the trade dress claims persist in this case, performing surveys will take a significant amount of
26   additional time, necessitating a longer period of expert discovery.
     2
        Many PUBG employees are in countries that are members of the Hague Evidence convention, so
27   NetEase anticipates utilizing letters rogatory to obtain third party discovery from those employees in
     their individual capacities. In the experience of NetEase’s counsel, discovery through the Hague
28   Convention is time consuming, necessitating at least 9 months of fact discovery.
                                                         9
             JOINT CASE MANAGEMENT STATEMENT & [PROPOSED] ORDER, CASE NO. 4:18-CV-02010 JSW
         Case 4:18-cv-02010-JSW Document 83 Filed 11/09/18 Page 11 of 16



 1          18. Trial

 2          The parties request a jury trial. The parties anticipate a 7 day trial.

 3          19. Disclosure of Non-Party Interested Entities or Persons

 4          On April 2, 2018 (Dkt. Nos. 3 and 4), Plaintiffs filed their Certifications of Interested Entities

 5   or Persons which each state: “Pursuant to Civil L.R. 3-15, the undersigned certifies that the

 6   following listed persons, associations of persons, firms, partnerships, corporations (including parent

 7   corporations) or other entities (i) have a financial interest in the subject matter in controversy or in a

 8   party to the proceeding, or (ii) have a non-financial interest in that subject matter or in a party that

 9   could be substantially affected by the outcome of this proceeding: PUBG Corporation; PUBG Santa

10   Monica, Inc.; and Bluehole Studio Inc. PUBG Corporation and PUBG Santa Monica, Inc. are both

11   plaintiffs in this action. PUBG Santa Monica, Inc. is a wholly owned subsidiary of PUBG

12   Corporation, and PUBG Corporation is a wholly owned subsidiary of Bluehole Studio Inc. Pursuant

13   to Fed. R. Civ. P. 7.1, [Plaintiffs] state[] that [they have] no other parent corporation, and no public

14   corporation owns 10% or more of [their] stock.”

15          On April 17, 2018 (Dkt. No. 25), NetEase Information Technology Corporation filed its

16   Certification of Interested Entities or Persons which states, “Pursuant to Federal Rule of Civil

17   Procedure 7.1 and Northern District of California Local Rule 3-15, NetEase Information Technology

18   Corporation hereby discloses the following: NetEase Information Technology Corporation is 100%

19   owned by NetEase (Hong Kong) Limited. Accordingly, NetEase Information Technology

20   Corporation, is aware of no other persons, associates, firms, partnerships, corporations, or other

21   entities who own 10% or more of NetEase Information Technology Corporation.”

22          20. Professional Conduct

23          All attorneys of record for the parties have reviewed the Guidelines for Professional Conduct

24   for the Northern District of California.

25          21. Other

26          None.

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          JOINT CASE MANAGEMENT STATEMENT & [PROPOSED] ORDER, CASE NO. 4:18-CV-02010 JSW
       Case 4:18-cv-02010-JSW Document 83 Filed 11/09/18 Page 12 of 16



 1   Dated: 11/9/2018                   /s/ Ketan V. Patel

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        JOINT CASE MANAGEMENT STATEMENT & [PROPOSED] ORDER, CASE NO. 4:18-CV-02010 JSW
     Case 4:18-cv-02010-JSW Document 83 Filed 11/09/18 Page 13 of 16



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 5                                   Counsel for Defendants

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     JOINT CASE MANAGEMENT STATEMENT & [PROPOSED] ORDER, CASE NO. 4:18-CV-02010 JSW
     Case 4:18-cv-02010-JSW Document 83 Filed 11/09/18 Page 14 of 16



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     JOINT CASE MANAGEMENT STATEMENT & [PROPOSED] ORDER, CASE NO. 4:18-CV-02010 JSW
           Case 4:18-cv-02010-JSW Document 83 Filed 11/09/18 Page 15 of 16



 1                                      SIGNATURE ATTESTATION

 2           Pursuant to Local Rule 5-1(i)(3), I attest under penalty of perjury that concurrence in the
 3   filing of this document has been obtained from Margret C. Caruso.
 4

 5

 6   By:           /s/ Ketan V. Patel         ,

 7   Dated: November 9, 2018

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           JOINT CASE MANAGEMENT STATEMENT & [PROPOSED] ORDER, CASE NO. 4:18-CV-02010 JSW
         Case 4:18-cv-02010-JSW Document 83 Filed 11/09/18 Page 16 of 16



 1                                    CASE MANAGEMENT ORDER

 2

 3   The JOINT CASE MANAGEMENT STATEMENT & PROPOSED ORDER, as modified above, is

 4   approved as the Case Management Order for this case and all parties shall comply with its

 5   provisions. [In addition, the Court makes the further orders stated below:]

 6   IT IS SO ORDERED.

 7

 8    Dated:

 9                                                          UNITED STATES DISTRICT JUDGE

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          JOINT CASE MANAGEMENT STATEMENT & [PROPOSED] ORDER, CASE NO. 4:18-CV-02010 JSW
